Case 1:23-cv-00108-LMB-JFA Document 360-3 Filed 08/30/23 Page 1 of 2 PagelD# 5426

From: Knopf, M:chae! (NYC-UI)) <i

To:

Sent 1/11/2023 6:16:0 /
Subject: [EXTERNAL] RE

CAUTION: This email onginated from outside USPS. STOP and CONSIDER before responding, clicking on links, or opening allachments
Okay, well, |'ll be around if you can
Michael Knopf tev

SVP. Client Business Partner
P +1

AdAge od FORTUNE

From: Karpenko, Christopher J - Washington, DC Ei

Sent: Wednesday, January 11, 2023 557 PM
To: Knopf, Michael (NYC-UMW) <
Subject: RE: [EXTERNAL] FW

Not sure

From: Knopf, Michael (NYC-UMW) <
Sent: Wednesday, January 11, 2023 5:54 PM

To: Karpenko, Christopher a

Subject: (EXTERNAL) FW

CAUTION: This email originated from outside USPS. STOP and CONSIDER before responding, clicking on links, or opening atlachments

To be sure you have the information you need, are you free to share the story behind this ask?

Michael Knopf Hertin

SVP. Client Business Partner
Pp 47

AdAge a FORTUNE

From: Catucci, Lisa (NYC-UMW) <i
Sent: Wednesday, January 11, 2023 4:44 PM

To: Karpenko, Chnstopher J- Washington DC <
Cc: Bottenberg, Michael! R - Washington. DC <
Washington
Subject: RE

Knopf, Michael (NYC-UIMW)

Brian Pasco <I” VWorkinger, Kimberly 8

Hi Chris

Please let us know if there is anything we can add or clarify
Thanks
Lisa

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Case 1:23-cv-00108-LMB-JFA Document 360-3 Filed 08/30/23 Page 2 of 2 PagelD# 5427

From: Karpenko, Christopher J- Washington, 0C {x
Sent: Wednesday, January 11, 2023 2.43 PM
Knopf, Michael (NYC-UMW) =

To: Catucci, Lisa (NYC-UMW)
Brian Pasco hii Workinger, Kimberly B -

Cc: Bottenberg, Michael R - Washington, DC <
Washington. DC
Subject:

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message for the intended recipient), you may not use, copy, disseminate or disclose to anyone the message or any information contained in the
message. If you have received the message in error, please advise the sender by reply e-mail, and delete the message Thank you very much

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